            Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 1 of 34



1                             IN THE UNITED STATES DISTRICT COURT
2

3                          FOR THE SOUTHERN DISTRICT OF NEW YORK

4    JASON GOODMAN                                      Case No.: 1:21-cv-10878-AT-JLC
5    Plaintiff,
6    vs.                                                RESPONSE IN OPPOSITION TO
                                                        MOTION TO DISMISS
7    CHRISTOPHER ELLIS BOUZY, BOT
     SENTINEL, INC, GEORGE WEBB
8
     SWEIGERT, DAVID GEORGE SWEIGERT,
9    BENJAMIN WITTES, NINA JANKOWICZ,
     ADAM SHARP, MARGARET ESQUENET,
10   THE ACADEMY OF TELEVISION ARTS
     AND SCIENCES, SETH BERLIN,
11
     MAXWELL MISHKIN
12
                    Defendants
13

14
                    Jason Goodman (“Goodman”), by and for himself pro se, respectfully submits
15
     this response in opposition to defendants’ Adam Sharp (“Sharp”), Academy of Television
16

17
     Arts and Sciences (“ATAS”), and Margaret Esquenet (“Esquenet”) motion to dismiss.

18                                INTRODUCTORY STATEMENT
19
                    Contrary to defendants’ disparagements, Goodman is not a vexatious litigant.
20
     Goodman had no experience or interest in litigation at all prior to crossing paths with
21

22   defendants and their coconspirators beginning in 2017. Defendants’ weaponization of the

23   legal system and their lawfare assault, has forced Goodman into litigation. Like an untrained
24
     swimmer thrown into the ocean, Goodman has been thrashing and struggling to stay afloat.
25
     Goodman v Sharp was the first of only two lawsuits Goodman ever filed in District Court.
26

27   He was not aware of the civil cause of action in the RICO statute at the time of the filing.

28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 1
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1    Liberal construction should be adapted to each particular pro se case. Judge Cott may have
2
     determined Goodman is not an average pro se litigant, but this is not average litigation.
3
                    Despite his inartful pleadings, Goodman has not brought these actions
4

5    frivolously or for the purpose of harassment. Goodman has presented evidence that

6    defendants cannot refute, which will prove that Adam Sharp (“Sharp”), Margaret Esquenet
7
     (“Esquenet”) and David George Sweigert (“Sweigert”) calculated a scheme to sue a false
8
     corporate entity, Multimedia System Design, INC d/b/a/ Crowdsource the Truth (“MSDI”).
9

10   The MSDI name was concocted by Sweigert to substantially resemble a real entity owned by

11   Goodman, Multimedia System Design (“MSD”). Goodman alleges Sweigert shared the
12
     MSDI name with Sharp and Esquenet, who together schemed to knowingly sue the false
13
     entity with the express intent of wrongfully denying Goodman the right to pro se defense.
14

15   Goodman makes this allegation on information and belief because there is no other
16
     discernible way defendants could have determined to sue MSDI and they have failed to
17
     provide any explanation. Defendants calculated this scheme to sue Goodman’s real but
18

19
     unrelated corporation by using the false MSDI name to create the appearance of a connection

20   to Goodman’s personal intellectual property published under the brand name Crowdsource
21
     the Truth. Defendants knew Goodman could not enter the lawsuit to untangle their deception
22
     without hiring an attorney. Once Goodman did that, attorney Jonathan Snyder (“Sndyer”)
23

24   was relentlessly harassed by Sweigert until he withdrew, (See Case 1:20-cv-07269-VEC-

25   OTW ECF No. 102-2) forcing a fraudulent default judgement against MSD.
26
                    Defendants’ original suit is predicated on false pretenses, fraud, and
27
     misrepresentation. Their action was not intended to protect a copyright, but rather to stop
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 2
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 3 of 34



1    Goodman from broadcasting information disfavored by defendants and to destroy his ability
2
     to earn a living. Defendants cannot disprove these claims so instead they endeavor to conceal
3
     evidence, label Goodman a “conspiracy theorist” and overwhelm him with frivolous
4

5    litigation intended to enjoin him from discussing these matters. Defendants will fail to

6    demonstrate that they learned of the existence of MSDI through legitimate means or that their
7
     suit was not initiated for the ulterior purposes described by Goodman. Fraud precludes res
8
     judicatory. Defendants should be compelled to answer questions pertaining to facts rather
9

10   than resting on their conclusion that Goodman’s claims be dismissed as “conspiracy theory”.

11                                         BACKGROUND
12
                    Defendants were alerted to a parody image broadcast on YouTube by an
13
     allegedly anonymous email (the “Anonymous Email”) on July 28, 2020. The email alert
14

15   gave rise to a YouTube complaint alleging copyright infringement on August 21, 2020.
16
     Goodman counterclaimed fair use and that the image was first amendment protected parody.
17
     Defendants sued September 9, 2020, in National Academy of Television Arts and Sciences v
18

19
     Multimedia System Design, INC, d/b/a/ Crowdsource the Truth (“NATAS v MSDI”).

20                  On or around December 22, 2022, Goodman published a detailed report titled
21
     The Twitter Coup, which is incorporated herein by reference as if fully stated herein
22
     (EXHIBIT A). This report is based on irrefutable facts and evidence that defendants have
23

24   not contested. Goodman filed the Twitter Coup report along with a motion for relief from

25   judgement in a case presided over by Judge Caproni (See Case 1:20-cv-07269-VEC-OTW
26
     Document 167). Judge Caproni did not sanction Goodman for filing it or strike the filing as
27
     she should have had it been determined to contain false, irrelevant, or scurrilous material.
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 3
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 4 of 34



1                   Sharp and ATAS have shown no compunctions about taking legal action
2
     against Goodman, but no cease-and-desist letter has demanded any retraction and no
3
     defamation suit has been threatened. Apart from the thoroughly researched and cited
4

5    sources, these two factors are additional evidence supporting the veracity of Goodman’s

6    Twitter Coup report. Defendants should be compelled to disprove Goodman’s claims before
7
     the conclusion that he is a conspiracy theorist can be considered anything beyond a personal
8
     insult that should be viewed with suspicion, stricken from the record, or at least ignored.
9

10                  Goodman has presented irrefutable evidence which defendants have not

11   challenged, that will prove that Sharp and Judge Caproni concealed the existence of an
12
     existing relationship between them going back to a 2009 C-SPAN3 appearance and Judge
13
     Caproni’s tenure at the FBI. Defendants have also not challenged evidence in the Court’s
14

15   possession that proves Esquenet made a fraudulent misrepresentation in her efforts to block
16
     critical evidence that could prove or disprove Goodman’s conspiracy claims. These acts of
17
     fraud and misrepresentation should bar the application of res judicata.
18

19
                                RES JUDICATA DOES NOT APPLY

20                    Res judicata does not apply when fraudulent concealment or other acts of
21
     fraud prevent a plaintiff from accessing critical evidence as is in this case here. The Second
22
     Circuit has found, “in some cases newly discovered evidence will prevent the application of
23

24   [*17] res judicata if "the evidence was either fraudulently concealed" or "could not have

25   been discovered by due diligence," In re Layo, 460 F.3d 289, 293 (2d Cir. 2006), that
26
     exception only applies if the concealment prevented the Plaintiff from being able to raise the
27
     issue at the first proceeding. Saud v. Bank of New York, 929 F.2d 916, 920 (2d Cir. 1991)
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 4
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1    Caron v. TD Ameritrade, No. 19-cv-9015 (AJN), 2020 U.S. Dist. LEXIS 223310, at *16-17
2
     (S.D.N.Y. Nov. 30, 2020)
3
                      To satisfy Rule 9(b), a party alleging fraudulent misrepresentations must
4

5    "(1) specify the statements that the plaintiff contends were fraudulent, (2) identify the

6    speaker, (3) state where and when the statements were made, and (4) explain why the
7
     statements were fraudulent." Hirsch v. Columbia University, College of Physicians and
8
     Surgeons, 293 F. Supp. 2d 372, 381 (S.D.N.Y. 2003) (quoting Mills v. Polar Molecular
9

10   Corp., 12 F.3d 1170, 1175 (2d Cir. 1993)).

11   Schandler v. N.Y. Life Ins. Co., 09 Civ. 10463 (LMM), 10 (S.D.N.Y. Apr. 26, 2011).
12
                      The fraudulent statements and concealment in this case are spread across a
13
     range of actions intended to hide the identity of the sender of the Anonymous Email and the
14

15   true motivation for defendants’ fraudulent legal action. In addition to the Anonymous Email,
16
     a fraudulent YouTube complaint was filed by defendant Sharp relying upon the email as the
17
     proximate pretext for the complaint and subsequent lawsuit, NATAS v MSDI. These acts
18

19
     should be construed as fraud upon the Court and should preclude application of res judicata.

20                    The first false statement was made in a letter sent by defendant Esquenet to
21
     Judge Caproni on August 24, 2021, (See Case 1:20-cv-07269-VEC-OTW ECF No. 113)
22
     stating in relevant part, “Mr. Goodman willfully violated the Stipulated Protective Order
23

24   entered in this case. See ECF No. 41 (“SPO”).” At the time of this statement Esquenet knew

25   it to be false or reasonably should have. The alleged violation was Goodman’s transmission
26
     of the Anonymous Email address to a third party in an August 2021 email. The Anonymous
27
     Email address however had previously been revealed more than three months prior at a
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 5
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 6 of 34



1    public hearing when Esquenet’s now terminated associate Samuel Eichner (“Eichner”) spoke
2
     the address aloud, causing it to be recorded in the transcript and placed into the public
3
     domain where it still remains today (See ECF No. 69 Page 42 Line 23). The SPO described
4

5    in Esquenet’s letter refers to “nonpublic” and “confidential” information. It is inarguable that

6    information cannot be simultaneously in the public domain and also considered confidential.
7
     As a result of Eichner placing the formerly nonpublic Anonymous Email address into the
8
     public domain in May 2021, the address was no longer nonpublic or confidential, and
9

10   therefore it was not covered by the SPO when Goodman shared it. Defendants nor Judge

11   Caproni can refute this logic or these facts, so they have attempted to ignore them. It is not
12
     ironic that Goodman’s pursuit of this evidence led to him being sanctioned personally. That
13
     gave rise to the appeal now pending in the Second Circuit (See Case 22-592). Defendants
14

15   have gone to extraordinary lengths to stop Goodman from accessing or even discussing the

16   Anonymous Email. Inexplicably, no effort has been made to redact it from the transcript.
17
                      Defendants should be compelled to reveal the identity of the author of the
18

19
     July 28, 2020 Anonymous Email that was the catalyst for all of this litigation, even if only in

20   camera and only to judge Torres. Defendants have simultaneously insisted the Anonymous
21
     Email remain hidden from Goodman while failing to remove it from the public domain or
22
     declaring under oath that Sweigert was not the sender. The fraudulent concealment of the
23

24   identity of the sender has made it impossible for Goodman to gain access to necessary

25   evidence despite due diligence. This aggressive obstruction by defendants, only supports the
26
     allegations that the Anonymous Email was sent by Sweigert or an agent acting on his behalf.
27
     Defendants have fraudulently concealed their relationship with Sweigert and the true motive
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 6
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 7 of 34



1    for suing Goodman’s corporation MSD, so res judicata should not apply. "Res judicata
2
     applies even where new claims are based on newly discovered evidence, unless the evidence
3
     was either fraudulently concealed or it could not have been discovered with due diligence."
4

5    L-Tec Elecs. Corp. v. Cougar Elec. Org., Inc., 198 F.3d 85, 88 (2d Cir. 1999)

6    Campbell v. Bank of Am., Nat'l Ass'n, No. 19 CV 11 (VB), 2019 U.S. Dist. LEXIS 147491,
7
     at *12 (S.D.N.Y. Aug. 28, 2019)
8
                     Three weeks after receipt of the Anonymous Email, defendant Sharp made a
9

10   fraudulent statement to YouTube when he filed a false copyright complaint on August 21,

11   2020. Goodman alleges Sharp made the fraudulent complaint with the willful intent to harm
12
     him and full knowledge that the complaint was false. The copyright disclaimer on Sharp’s
13
     own YouTube page demonstrates Sharp’s knowledge and understanding of copyright law and
14

15   YouTube rules is far above average. (https://www.youtube.com/@rogersharparchive/about).
16
     Sharp falsely complained that Goodman’s parody image was a copyright infringement
17
     knowing it would trigger a YouTube penalty preventing broadcasting for ninety days. Sharp
18

19
     did this to gain an unfair advantage for his favored candidate Joe Biden (“Biden”) and to

20   harm candidate Donald Trump (“Trump”) by deliberately delaying his complaint for three
21
     weeks. Sharp used tax-exempt funds from the nonprofit National Academy of Television
22
     Arts and Sciences (“NATAS”) and with the full knowledge and compliance of the Academy
23

24   of Television Arts and Sciences (“ATAS”) in furtherance of his fraudulent lawfare scheme to

25   harm Goodman. Sharp’s knew or should have reasonably known that the image created by
26
     Goodman was a parody protected by fair use pursuant to the Copyright Act. Sharp willfully
27
     delayed his fraudulent complaint for three weeks after he learned of the alleged infringement
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 7
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 8 of 34



1    so that the prohibition on broadcasting would coincide with the 2020 Presidential election.
2
                      Defendants Sharp, Esquenet and ATAS made a fraudulent representation to
3
     the Court on September 4, 2020, when they sued MSDI, a fictitious, non-existent corporate
4

5    entity devised by Sweigert in order to compel Goodman to hire an attorney to defend the real

6    corporate entity MSD, and to prevent Goodman mounting a pro se defense. Goodman
7
     retained attorney Snyder who failed to follow instructions, failed to subpoena the identity of
8
     the Anonymous Email, and withdrew due to what he declared harassment and intimidation by
9

10   Sweigert. The lawsuit against MSDI is inherently fraudulent because that name was made up

11   by Sweigert and could only have been learned by defendants from Sweigert. Goodman never
12
     registered the assumed name d/b/a/ Crowdsource the Truth with the New York Secretary of
13
     State. Defendants could not have learned of Goodman’s legitimate corporation MSD,
14

15   knowing only his name and the name of his online broadcasts. Overwhelming evidence
16
     indicates defendants conspired with Sweigert to sue MSDI rather than Goodman personally.
17
                      Res judicata does not apply in cases where continuing wrongs emanate from
18

19
     the same parties and the same fact pattern as is the case here. “Continuing wrongs' are an

20   exception to res judicata even if it were applicable to the instant case.”
21
     Jq1 Assocs. v. Schwartz & Assocs., No. 614355/19, 2020 N.Y. Misc. LEXIS 15598, at *14
22
     (Sup. Ct. Sep. 24, 2020)
23

24                    RESPONSE TO STATEMENTS OF DISPUTED FACTS

25                    A. ATAS forced Goodman’s company into default for copyright and
26
                          trademark infringement through deception and fraud.
27
                      Goodman acknowledges he owns Multimedia System Design, INC,
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 8
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1    (“MSD”) but defendants sued a separate and distinct false entity they named Multimedia
2
     System Design, INC, d/b/a Crowdsource the Truth (“MSDI”). Defendants concocted this
3
     fictitious corporate entity to create a plausible link between a real corporation owned by
4

5    Goodman and intellectual property created and owned by Goodman in his personal capacity.

6    Defendants did this to prevent Goodman from doing what he is attempting now, defending
7
     himself pro se with truthful claims and unimpeachable evidence. Defendants cannot explain
8
     their actions outside of the explanation offered by Goodman so instead they go to tremendous
9

10   lengths to block access to evidence that would prove or disprove so-called conspiracy

11   theories. To dismiss claims that defendants conspired with Sweigert under the doctrine of res
12
     judicata and based on decisions made in the wake of Sweigert’s harassment, would be
13
     antithetical to the service of justice and incongruent with the doctrine of res judicata. Res
14

15   judicata is intended to avoid abuse of the system, not to reward the most sophisticated

16   abusers. The Court should deny defendants motion to dismiss on this basis alone.
17
                      B. Goodman’s claims are not frivolous and pertain to fraud in the
18

19
                          preceding case.

20                    Goodman has accused defendants of deceptively planning a lawsuit intended
21
     to damage him and then suing a false entity under fraudulent pretenses for an improper and
22
     ulterior purpose. Goodman alleges that Sharp hid his prior relationship with Judge Valerie
23

24   Caproni and hid facts about a clandestine relationship between the FBI and Twitter. This

25   conspiracy initially began when Sharp was U.S. Government liaison at Twitter and Caproni
26
     was FBI General Counsel in or around 2010 – 2011. As outrageous as these claims may
27
     sound, nearly identical claims of illegal acts on the part of the FBI, its agents and attorneys,
28
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 9
           Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 10 of 34



1    and others including executives at Twitter are the focus of various Congressional and DOJ
2
     investigations including the previously cited Durham Report, incorporated herein again as if
3
     fully restated herein, (https://www.justice.gov/storage/durhamreport.pdf). Goodman’s
4

5    allegations and the accompanying irrefutable evidence should not be dismissed as conspiracy

6    theory until they have been fully considered by the Court and answered to by defendants.
7
                       C. Goodman should not be barred from future filing or have his rights
8
                           to access the courts restricted in any way
9

10                     Goodman’s filings were not made to harass and annoy and were not

11   meritless or frivolous. All of Goodman’s claims are backed by prima facie evidence that has
12
     not been addressed at all by defendants. Goodman is battling a team of experienced bar
13
     members determined to defeat him with fraud and misrepresentation. It is a significant
14

15   challenge for a pro se litigant to say the least.
16
                                              CONCLUSION
17
                       For the reasons stated herein and any other reasons as determined by the
18

19
     Court, Goodman’s claims should not be dismissed. Goodman should be granted leave to

20   amend, and the case should be allowed to proceed and be decided on its merits.
21

22
     Signed this 26th day of May 2023
23

24
     Respectfully submitted,

25                           ____________________________________________________
                                                      Jason Goodman, Plaintiff, Pro Se
26                                                              252 7th Avenue Apt 6s
27
                                                                New York, NY 10001
                                                                       (323) 744-7594
28                                                      truth@crowdsourcethetruth.org
     RESPONSE IN OPPOSITION TO MOTION TO DISMISS - 10
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                           (EXHIBIT A)
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THE TWITTER COUP Part 1




Twitter’s former Government Liaison Adam Sharp has stars in his eyes as he stares longingly at President Barack
                       Obama during the Twitter Townhall @thewhitehouse July 6, 2011


Preliminary Statement

Over the past four years, U.S. District Court Judge Valerie Caproni has presided over
three cases in which the author was a litigant.
         Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 13 of 34
(Case 1:18-cv-08653-VEC-SDA, Case 1:20-cv-07269-VEC-OTW, Case 1:21-cv-10627-VEC)

In two of the cases, the author was opposed by Adam Sharp. Facts surrounding an
alleged relationship between Caproni and Sharp were unknown prior to researching
and writing this article in December 2022. A motion to disqualify Caproni was denied
on January 10, 2022 (Case 1:21-cv-10627-VEC Document 17).

Recusal is warranted in cases where, “a reasonable person, knowing all the facts would
have doubts about the judge’s ability to be impartial in the case.” Judges may also
recuse themselves to avoid the appearance of conflicts of interest.

The Fundamental Transformation of America

Elon Musk’s “Twitter Files” reveal a deeply troubling, previously hidden relationship
between federal law enforcement and private sector social media companies, but an
important question remains unanswered. Who could have executed such a vast
government infiltration of private industry and how could they overcome the technical
and legal hurdles? As implausible as it seems, this all occurred in plain sight right
under our noses over the past two decades.

Evidence in the public domain is likely to prove that former President Barack Obama,
former FBI General Counsel Valerie Caproni, and Twitter’s former Government Liaison
Adam Sharp, were the three most important conspirators at the outset. It appears they
worked together and with others to launch one of the most sinister and sophisticated
crimes in our nation’s history.

From Weatherman to U.S. President — The Rise of Barack Obama

Just after his historic Presidential win, the New York Times ran a story about “How
Obama Tapped Into Social Networks’ Power”. Journalist David Carr wrote, “In February
2007, a friend called Marc Andreessen, a founder of Netscape and a board member of
Facebook and asked if he wanted to meet with a man with an idea that sounded
preposterous on its face.” Carr never reveals the identity of Andreessen’s friend but
goes on to depict Obama as the genius behind a grass roots campaign facilitated by
emerging technology.
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In 2015, long after Ayers and Dohrn helped the obscure Illinois State Senator rise to
international prominence, President Obama held a technology summit at Stanford
University. After delivering remarks on the future of technology and industry, Obama
signed Executive Order 13691 Promoting Private Sector Cybersecurity Information
Sharing. In it, the President commanded that, “private companies, nonprofit
organizations, executive departments and agencies (agencies), and other entities must
be able to share information related to cybersecurity risks and incidents and
collaborate to respond in as close to real time as possible.” Stanford students in
attendance were probably unaware, but this order codified long standing FBI demands
to supersede the fourth amendment and investigate anyone they wanted. This paved
the way for the Neo-fascism now being exposed in the ongoing releases of the “Twitter
Files”.

Making good on his campaign promise, Obama ensured that America would be
fundamentally transformed from a Constitutional Republic into a Neo-fascist
Technocratic Autocracy. This new authority would be enforced by a digitally enabled
Super-Stasi made up of FBI InfraGard members, (https://www.infragard.org/) and other
contractors including hundreds, perhaps even thousands of ordinary citizens
patrolling on-line as America’s Secret Police.

Such an Orwellian overthrow would be calculated to happen without anyone noticing
until it was too late. The merger of government and corporate technological power
enabled a class of politically aligned bureaucratic elites to maintain control by
monitoring and stifling opposition rather than allowing open debate in a free
marketplace of ideas. These traitors have trampled the Constitution and destroyed the
most fundamental aspect of American greatness.

Part two of this series will explore Congressional allegations of criminal malfeasance
within the FBI.




  Twitter      FBI    Obama      Corruption   Elon Musk
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THE TWITTER COUP Part 2




Accusations of Criminal Malfeasance in the FBI General Counsel’s Office
         Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 16 of 34
On April 14, 2010, the House Judiciary Subcommittee held a hearing on the Inspector
General’s “Report on the FBI’s Use of Exigent Letters and Other Informal Requests for
Telephone Records”. Committee Chair John Conyers (D-Mich.) issued a harsh rebuke of
FBI General Counsel Valerie Caproni, when he said, “Today’s hearing showed that the
FBI broke the law on telephone records privacy and the General Counsel’s Office,
headed by Valerie Caproni, sanctioned it and must face consequences.”

Conyers went on to say he was “outraged” that the FBI Office of the General Counsel
had invented exigent letters apparently out of whole cloth, “It’s not in the Patriot Act. It
never has been. And its use, perhaps coincidentally, began in the same month that Ms.
Valerie Caproni began her work as general counsel.”

Given the most recent revelations of Elon Musk’s “Twitter Files” concerning the FBI,
Conyers’ closing statement in a letter to then FBI director Mueller is eerily prescient,
“I’m extremely disappointed that every time Congress has tried to plug potential civil
rights and civil liberties violations in our counterterrorism activities, the FBI seems to
have figured out a way to get around it.”

Chairman Conyers implored Mueller to take action and fire the responsible parties in
Caproni’s Office. No records of any action in response could be located and the press
release has been removed from the House Judiciary web page.

Rather than face any consequences for her actions, Caproni would leave the FBI to join
Northrup Grumman as Deputy General Counsel in 2011. She was nominated for a
District Court Judge position in the Southern District of New York by Barack Obama in
2012.

During the course of her contentious Senate confirmation, Ranking Member of the
Judiciary Committee Chuck Grassley sent a letter to the Dept. of Justice Office of the
Inspector General. The letter detailed Senator Grassley’s concerns about undue
resistance to the committee’s requests for documents and transcripts related to
Caproni’s ongoing constitutional abuses including repeated inappropriate use of
National Security Letters and the even more urgent “exigent letters” throughout her
tenure. The Grassley letter describes a culture of autocracy at the FBI that obstructed
oversight, ignored the law and operated with impunity.
         Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 17 of 34
Valerie Caproni was confirmed by the Senate in 2013 and still serves as a U.S. District
Court Judge for the Southern District of New York where she continues her abuse of
citizens’ constitutional rights to this day.

Part three will discuss how technical and legal barriers were overcome in the effort to
destroy Americans’ constitutional protections.




  FBI     Twitter    Valerie Caproni    Corruption   Congress
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THE TWITTER COUP Part 3




 President George W. Bush and a gaggle of neocon cronies delight in laying the groundwork for the destruction
                                           of the U.S. Constitution


Overcoming Legal Hurdles Takes a Village
         Case 1:21-cv-10878-AT-JLC Document 213 Filed 05/26/23 Page 19 of 34
The groundwork was laid by the George W. Bush Administration. In the wake of the
national trauma of 9/11, the Patriot Act was passed under the guise of increased
security. This unconstitutional statute called for the creation of the National Cyber
Investigative Joint Task Force, an interagency intelligence sharing organization led by
the FBI. It also granted federal law enforcement new tools in their self-declared “war
on terror”. For the first time since the signing of the Bill of Rights, federal agents were
granted unilateral authority to surveil any person they deemed a national security
threat without first establishing probable cause or providing any evidence to a judge.
Due process was bypassed, the need for warrants ignored, and newly created National
Security Letters decimated the Fourth Amendment.

No longer were We the People “secure in our persons, houses, papers, and effects,
against unreasonable searches and seizures”. The FBI and other Federal agencies could
simply send a National Security Letter to your phone company or internet provider
seeking any information associated with any account for any reason. Although
National Security Letters do not have the same legal force and effect as Court Orders or
properly issued search warrants, the practical impact is virtually identical with an
historical record nearing 100% compliance by providers.

During her tenure as general counsel at the FBI, Valerie Caproni coined the phrase
“Going Dark”. The term purported to describe an increasing proliferation of digital
communications technologies and a widening gap in law enforcement’s ability to
penetrate those technologies in the due course of criminal investigations. Things like
end-to-end encryption and automatically decimated chat logs had investigators in the
dark according to Caproni.

The FBI’s proposed solution was to create new legislation granting agencies unfettered
access to all digital communications in real time. Setting aside the unrealistic network
bandwidth and storage requirements of such a concept, the idea was controversial to
say the least. Caproni and the FBI aimed to compel all technology companies to modify
their products with “back doors” that would bypass primary security measures and
allow federal investigators instant and full access to any account upon receipt of a
National Security Letter.

Caproni would come under fire throughout her career for gross abuses of the process
including the arbitrary creation of so called “exigent letters” which have no statutory
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basis in the Patriot Act and the reliance on false statements to open alleged
counterintelligence investigations.

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Caproni and her successors Andrew Weissman and James Baker went as far as
suggesting modifications that amounted to hobbling the most sophisticated products
available. These products’ creators admonished FBI luddites and articulated how the
changes would dramatically weaken security and expose all users to data theft and
hacking. Despite a fundamental lack of subject matter knowledge, for years the FBI
continued to make demands that industry experts argued would pose too great a risk
for everyone should they be compelled to comply.

A Decade of “Going Dark”

Nearly eight years after Valerie Caproni delivered an address at Lewis & Clark Law
School on “Crimes, War Crimes, and the War on Terror”, the New York Times reported,
“Obama Won’t Seek Access to Encrypted User Data”. Perhaps this was true of encrypted
data, but perhaps this was just a lawyerly way of talking around a new cooperative plan
to intercept data at the source, before it was encrypted or after it had been decrypted.
Going back as far as 2005, Caproni had made the FBI’s position on “Going Dark”
extremely clear, it was a top priority. The persistence with which the FBI pursued this
agenda cannot be overstated, nor can the public resistance to it.

Would secretly planting FBI operatives directly inside Twitter allow agents to address
management’s “Going Dark” concerns without the need to crack encryption keys or
reveal their efforts to the public? Could such a cozy relationship indicate that Twitter
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had agreed to implement the long-sought FBI back door without informing
unsuspecting users? Twitter’s new CEO has revealed emails indicating reimbursements
to Twitter from the FBI for the fulfilment of requests related to investigations. While
Twitter’s CEO may have incorrectly characterized the nature and purpose of the
payments, it is not denied that the payments were made.

Was Twitter motivated to comply with FBI investigation requests by law or by financial
incentives? Did the FBI need warrants to investigate, penetrate or terminate the private
Twitter accounts of U.S. citizens? These and other questions remain open. Many may
ask, would the FBI do something illegal? Would they take action even if it had no basis
in law? House and Senate oversight of the FBI General Counsel’s Office and the
Inspector General’s report on the matter indicate they were in a regular practice of
doing exactly that.

Part four will reveal how the U.S. Government essentially became one with private
industry when it infiltrated Twitter.




  Twitter      Elon Musk    FBI    Patriot Act   Valerie Caproni
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THE TWITTER COUP Part 4




    President Barack Obama and Twitter CEO Jack Dorsey at the Whitehouse Twitter Town Hall July 6, 2011


The Marriage of the U.S. Government and Social Media

Although Barack Obama does not consider himself a luddite, during a 2022 address at
the Stanford Internet Observatory he admitted he has to ask his “daughters how to
work basic functions” on his phone. Even fifteen years after joining Twitter, Barack
Obama’s background, experience and technological profile is inconsistent with that of
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someone who could have foreseen the impact social media would have on politics all
the way back in 2007.

It is impossible to understand the U.S. Government’s infiltration into Twitter without
exploring the role of the man who is most likely to have presided over this unholy
union. Today, he is the President and CEO of the National Academy of Television Arts
and Sciences (“NATAS”), an obscure individual named Adam Sharp. Before handing out
EMMY awards, Sharp joined Twitter in its pre-IPO days, early in November of 2010. Hot
topics in DC at that time included regulation of social media firms. It was quietly
coming out that many had hired lobbyists to get in front of the issue. Just prior to Sharp
joining Twitter, in October of 2010, the LA Times ran an op-ed reporting “Facebook
lobbies California on online privacy act (but shhh — don’t tell anyone).

Evidence indicates Sharp’s interest in Twitter began long before he was hired there.
While serving as an Executive Producer for C-SPAN in 2009, Sharp launched a public
affairs database that included “Twitter and Facebook API integration”. API stands for
application programming interface and describes a set of software tools provided to
developers to enable customization and integration with other products. Sharp’s
utilization of Twitter’s development API is an indication that he was very familiar with
the inner workings and unrealized potential of Twitter at least by 2009, likely prior.

Sharp’s online resume fails to discuss Valerie Caproni’s appearance on C-SPAN3 in June
of 2009 during the time he was the Executive Producer and managed primetime
programming. It is difficult to imagine that the Executive Producer would not interact
at all with such an important FBI guest. At very least, as programming manager, Sharp
would be aware of the content of the broadcast in which Caproni articulated the FBI’s
goals to penetrate online communications. It remains unknown if any interaction
occurred between Sharp and Caproni. Even in the event that there was none, Sharp
was very likely aware of the FBI’s concerns about “Going Dark” as long ago as 2009.

While at Twitter, Sharp made incredible inroads both for the company and the U.S.
Government. https://www.cnn.com/2015/02/03/politics/twitter-washington-office

Throughout his time at Twitter, Sharp separately owned and operated Sharp Political
Consulting, LLC. Sharp incorporated this firm in April of 2007. This is notably close in
time proximity to the March 5, 2007 creation of the @barackobama Twitter account
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cited in the Atlantic Magazine article, “You’re Not Really Following @BarackObama on
Twitter”.

Creation of Obama’s now famous Twitter account is especially notable because Twitter
was virtually unknown in 2007. Jack Dorsey had published the world’s first Tweet less
than one year prior on March 21, 2006. Obama was not only one of the first politicians
to join Twitter, but he was also among the first of all users. Technology moguls
including current Twitter CEO Elon Musk, and former Microsoft CEO Bill Gates would
not join until years later in June 2009. No other person fits the profile or was in the
position to put Barack Obama and Twitter together in the way Adam Sharp clearly was.

Journalist Phillip Bump told Atlantic Magazine readers that Obama’s “Twitter account
was created by a staffer on March 5, 2007, two months before he formally announced
his Presidential candidacy.” The Senate staffer has never been identified, but Sharp was
serving as Deputy Chief of Staff for Senator Mary L. Landrieu at the time. An election
postmortem from the New York Times citing Obama’s genius in leveraging social
media declared an anonymous “friend” brought Marc Andreessen to the Obama
campaign. Could both of these anonymous King Makers be Sharp? The answer remains
a mystery, but it is likely ‘yes’.

Even after Sharp became Twitter’s official Government Liaison, Sharp Political
Consulting, LLC remained active and engaged in matters that do not seem to have clear
connections to Twitter.

Sharp Political Consulting made over $50,000 in political contributions to Democrat
candidates in 2014.

In January 2016, pollsters calculated a 71% likelihood of a Hillary Clinton presidential
win. For reasons that are unclear, Sharp voluntarily dissolved Sharp Political
Consulting, LLC on January 29, 2016. In December 2016, less than one year later and
precisely one month after Donald Trump’s largely unexpected victory over Clinton,
Sharp abruptly left his beloved Twitter and promptly formed SharpThings, LLC, just
one week after the press release announcing his departure. Sharp would spend a lot of
time lecturing about Disinformation in various public speaking engagements from
2016 through 2018 and then during his tenure as CEO of NATAS beginning in 2018. Was
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Sharp’s departure motivated by an urgent need to step up la Résistance to Donald
Trump?

Part five will bring the story up to today and connect the suspected conspirators to the
events being exposed in The TWITTER FILES.




  Obama      Jack Dorsey   Twitter    FBI     Elon Musk
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THE TWITTER COUP Part 5




  President Barack Obama, Twitter Head of News, Politics and Elections Adam Sharp, Twitter General Counsel
   Alexander Macgillivray and other staff members celebrate their success at the Whitehouse on July 6, 2011


Operational Deployment of FBI–Twitter
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For more than a decade, FBI leadership was acutely focused on a “Going Dark” public
relations campaign. James Comey and Christopher Wray each spoke about it
throughout their respective tenures as FBI Director.

But it was Valerie Caproni’s disciples in the FBI General Counsel’s office that finally
made the plans operational. Her direct successor Andrew Weissman led the Mueller
Investigation into Russian Collusion with the Donald Trump Presidential Campaign.
This investigation was marred by the abuse of the secret FISA Court process and was
distinctly categorized by Mueller’s team as a Counterintelligence investigation rather
than a criminal investigation. This distinction allowed investigators to access the
unconstitutional and disputed powers imbued upon the FBI by Caproni. Ultimately, no
evidence was found to substantiate the Mueller accusations.

Because the mere suggestion of Russian interference with a U.S. Presidential election
represents a national security threat, the accusation alone absent evidence, was legally
sufficient to open an investigation under the Patriot Act. This would have allowed
Andrew Weissmann to use National Security Letters to merely allege that Trump
represented a national security threat and initiate the years long and highly disruptive
probe. This is perhaps the clearest example of naked abuse of the Patriot Act since its
inception and provides good grounds for its termination.

Weissmann’s successor James Baker. Director Comey appointed Baker General Counsel
of the FBI on January 15, 2014. Baker was reassigned by Wray in 2017 and then resigned
amid accusations that he leaked classified documents related to the Mueller
investigation of Trump.

Senior Fellow in Governance Studies at the Brookings Institution, Benjamin Wittes was
the likely recipient of the leak. Wittes is the editor of Lawfare, an online publication of
the Brookings Institution that James Comey told an audience he reads every day. Wittes
has claimed to be among James Comey’s closest friends. Baker would transition to
Brookings and Lawfare after departing the FBI and prior to becoming Twitter’s Deputy
General Counsel. The Brookings Institution is a non-profit think tank and a potential
incubator for domestic coup d’etats, perhaps along the lines of what was done with
Twitter. Baker appeared on MSNBC as recently as 2019 restating unconstitutional FBI
demands to access everyone’s data at any time.
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FBI All in at Twitter

On or around May 28, 2020, a new Twitter policy began adding warnings to “fact check”
users’ Tweets. After warnings were applied to Tweets sent from @realDonaldTrump,
the President issued executive order 13925 titled “Preventing Online Censorship”. The
order sought to curb perceived abuse of 47 USC § 230, the infamous Communications
Decency Act that shields online service providers from liability even if they editorialize
content that does not violate the law or civil torts. If implemented, the proposed
changes threatened to expose Twitter to thousands of civil legal actions. Less than
three weeks after Trump’s order, former FBI General Counsel Baker joined Twitter as
Deputy General Counsel. Was this a coincidence or was Baker still serving the demands
of his long-time FBI colleagues? Baker had transitioned through the FBI revolving door
of non-profit think tanks, including the Brookings Institution, Lawfare and the R Street
Institute, following the plan articulated in Obama’s 2015 Stanford inspired order.

It has now been widely reported that during Baker’s time as Deputy General Counsel,
Twitter suppressed a true and accurate news story published by the New York Post that
likely affected the outcome of the 2020 Presidential election. Dr. Michael Shellenberger
provides evidence of communications between FBI Special Agent Elvis Chan and
employees of Twitter in the Twitter Files 7.

The communications indicate the FBI had foreknowledge of facts that would be
asserted by the New York Post and knew them to be true, but falsely informed Twitter it
was the product of a Russian “hack and leak” operation.

Now we stand at the brink of world war in Ukraine. Even stating the opinion “Joe Biden
and Twitter rigged the 2020 election with the help of the FBI” is considered spreading
disinformation. The FBI and CISA have determined disinformation is a national
security threat. This logically could lead to the FBI investigating you if they decide
something you say is false.

America has been transformed right before our eyes, and all that was needed was a pen
and a phone.

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